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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
HALL, et al.,
                           Plaintiffs,                      DECISION AND ORDER
                vs.                                        21-CV-6296-FPG-MJP

WARREN, et al.,

                        Defendants.
_________________________________________

      Pedersen, M.J. Presently before the Court is Plaintiffs’ oral motion to

disqualify Corporation Counsel from representing Defendants Lovely Ann Warren

(“Warren”), La’Ron Singletary (“Singletary”), and the City of Rochester on the ground

that several conflicts exist. (Tr. of Feb. 11, 2025 Proceedings at 67:12–68:17, ECF No.

208.) After reviewing the briefing submitted by both parties and having held a

Dunton 1 hearing the Court concludes that there is no conflict of interest and that

Corporation Counsel can continue to represent all three parties. Accordingly, the

Court DENIES Plaintiffs’ oral motion for disqualification.

                            FACTUAL BACKGROUND

      The Court assumes the parties’ familiarity with the facts of this case and will

not repeat them here except as relevant to whether a conflict exists with Corporation

Counsel representing the City of Rochester, Warren, and Singletary.




      1 Dunton v. Suffolk County, 729 F.2d 903 (2d Cir. 1984).


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       During a conference with the Court on February 11, 2025, the parties discussed

the issue of whether Corporation Counsel has a conflict of interest in representing

the City of Rochester, Warren, and Singletary, as Plaintiffs have asserted. (Tr. of Feb.

11, 2025 Proceedings at 67:12–68:17.) Plaintiffs indicated that they thought it was

“necessary to make a motion to disqualify” and requested a Dunton hearing to

determine whether disqualification is appropriate based on a conflict of interest. (Id.

at 68:1–69:3.) Plaintiffs indicated that they raised this concern because they are

“interested in ensuring the integrity of any final resolution” of this matter. (Id. at

70:21–71:2.) The Court scheduled a Dunton hearing to take place on March 11, 2025,

and directed the parties to submit briefing on the Dunton issue prior to the hearing.

(Id. at 73:20–74:13; 80:7–81:1.) The Court held the Dunton hearing on March 11,

2025, at which all parties were present. (Minute Entry for Proceedings, Mar. 11, 2025,

ECF No. 209.)

       In their pre-hearing briefing Plaintiffs assert as follows:

       There are three apparent conflicts: (1) Warren, Singletary and the City
       have accused each other of making false statements concerning material
       issues in this lawsuit, raising serious concerns about their continued
       joint representation; (2) in light of Plaintiffs’ municipal liability claims,
       the City, Warren and Singletary will, most likely, seek to interpose
       conflicting defenses, rendering their joint representation problematic;
       and (3) Patrick Beath’s prior role as a material witness in matters
       relating to this case presents a likely witness-advocate concern. 2




       2 Plaintiffs aver that this potential conflict is not currently ripe and only raised it to
avoid waiving it. (Pls.’ Mem. of Law at 19, ECF No. 198.) Given that this issue is not ripe the
Court will not address it at this time.
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(Pls.’ Mem. of Law at 1, ECF No. 198.) Plaintiffs’ concern with respect to the first

perceived conflict is that “Warren, Singletary, and the City have accused each other,

very publicly and under oath, of dishonesty, including about issues that are

significant to Plaintiffs’ case.” (Id. at 7.) Plaintiffs assert that

          Singletary and Warren have already provided irreconcilable accounts
          of several critical events surrounding the death of Daniel Prude and
          the subsequent cover-up—including openly attempting to shift the
          blame to the other. Indeed, Singletary testified that Warren and other
          City officials “orchestrated the cover-up” and then set him up to be the
          fall guy. Warren and Singletary have also each explicitly called the
          other a liar (with the City endorsing the view that Singletary
          previously perjured himself regarding the events surrounding Daniel
          Prude’s death).

(Id. at 9.)

        Plaintiffs contend that the second potential conflict issue—that Warren,

Singletary, and the City may raise conflicting defenses—implicates Dunton.

Plaintiffs assert that “[t]he problem of maintaining joint representation is the obvious

concern that the corporation counsel will inevitably prioritize the City’s interest over

the interest of its former employees like Ms. Warren and Mr. Singletary.” (Tr. at 12:1–

5.)

        While Defendants do not argue that Warren and Singletary “definitely

disagree as to who told what when” with regards to the Daniel Prude incident they

assert that they are in agreement that the policies, practices, and procedures at the

time of that incident were in accordance with the law. (Tr. at 23:12–18; 26:12–16.)

Defendants assert that the “who told what when is a credibility issue” not a conflict.

(Tr. at 25:22–26:2.)


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       At the Dunton hearing Plaintiffs’ counsel explained that there are two

“buckets” of Plaintiffs. The first bucket consists of those Plaintiffs who claim that they

have been “subjected to more excessive force by the RPD because they are people of

color,” which is encompassed in Plaintiffs’ first Monell claim. 3 (Tr. at 8:10–24.)

       In addressing the first bucket of Plaintiffs 4, Defendants assert that since these

Plaintiffs are seeking an injunction and declaratory relief any such relief, if granted,

would only be against the City, not against Warren or Singletary. (Tr. at 22:16–22;

40:3–11.) Neither Warren nor Singletary is still employed by the City. (Tr. at 41:4–

5.) Accordingly, Defendants contend that there is no conflict in representing them all.




       3 Plaintiffs aver that the following claims remain in this action:



       Plaintiffs’ Monell claim against the City for the Rochester Police Department’s
       (RPD) “practice of using disproportionate force against people of color” (First
       Claim); Plaintiffs’ Monell claim against the City alleging it was “deliberately
       indifferent and failed to discipline officers who used excessive force” (Second
       Claim); Plaintiffs’ Monell claim that “the City violated the First, Fourth, and
       Fourteenth Amendments during the Summer and Fall 2020 Racial Justice
       Protests” (Third Claim); Plaintiffs’ claims of excessive force against the
       individual Defendants (Seventh Claim); Plaintiffs’ civil rights conspiracy claim
       against the City, Warren, and Singletary (Eighth Claim); and Plaintiff’s claim
       for failure to intervene to prevent civil rights conspiracy against the City,
       Warren, and Singletary (Ninth Claim). See ECF No. 94 (MTD Order) at 13, 15,
       19; ECF No. 47 (Am. Compl) ¶¶ 423–449, 476–500.

(Pls.’ Mem. of Law at 1–2.)

       4 The second bucket of Plaintiffs’ claims relate to the force used at the 2020 protests

as well as injunctive relief. (Tr. at 26:17–24; Defs.’ Mem. of Law at 3, ECF No. 203.)

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       Defendants also assert that the City is indemnifying Warren and Singletary

and that their “defense is unified . . . that the policies, practices and procedures of the

City of Rochester Police Department were in accordance with law.” 5 (Tr. at 25:10–21.)

                                          ANALYSIS

       “The authority of federal courts to disqualify attorneys derives from their

inherent power ‘to preserve the integrity of the adversary process.’” Hempstead Video,

Inc. v. Inc. Vill. of Valley Stream, 409 F.3d 127, 132 (2d Cir. 2005) (quoting Bd. of

Educ. of City of N.Y. v. Nyquist, 590 F.2d 1241, 1246 (2d Cir. 1979)). Motions to

disqualify are generally viewed with disfavor, and “[w]hether to grant a motion to

disqualify is committed to the discretion of the court.” Wieme v. Eastman Kodak Co.,

No. 02–CV–6021L, 2004 WL 2271402, at *1 (W.D.N.Y. Sept. 7, 2004). In evaluating

a motion to disqualify, a court must balance “‘a client’s right freely to choose his

counsel’ against ‘the need to maintain the highest standards of the profession.’”

Hempstead Video, 409 F.3d at 132 (citations omitted).

       A party moving for disqualification carries “a ‘heavy burden’ and must satisfy

‘a high standard of proof.’” Wieme, 2004 WL 2271402, at *1 (quoting Evans v. Artek

Sys. Corp., 715 F.2d 788, 791, 794 (2d Cir. 1983)). Indeed, a court faced with a

disqualification motion must recognize that “disqualification has an immediate

adverse effect on the client by separating him from counsel of his choice, and that



       5 Plaintiffs contend that “the City [ ] indemnifying Mayor Warren and Chief Singletary

. . . doesn’t settle the conflict because a finding of liability against either of them individually
would have significant consequences beyond the mere payment of judgment” such as
“substantial reputational and professional repercussions.” (Tr. 13:5–16.)
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disqualification motions are often interposed for tactical reasons.” Bd. of Educ. of City

of N.Y., 590 F.2d at 1246. “Speculation regarding the divulging of client confidences

will not suffice to grant a motion to disqualify.” Hickman v. Burlington Bio–Med.

Corp., 371 F. Supp. 2d 225, 229 (E.D.N.Y. 2005). “At the same time, however, the

Second Circuit has instructed that if there are doubts about the matter, those doubts

should be resolved in favor of disqualification.” Wieme, 2004 WL 2271402, at *2.

      The standard for disqualification depends on whether the representation is

concurrent or successive. Hempstead Video, 409 F.3d at 133. For concurrent

representation, it is “prima facie improper” for an attorney to simultaneously

represent a client and another party with interests directly adverse to that client. Id.

Under those circumstances, a “per se” standard applies and the attorney must be

disqualified unless he is able to demonstrate “at the very least, that there will be no

actual or apparent conflict in loyalties or diminution in the vigor of his

representation.” Id. (emphasis in original). In contrast, where the representation is

successive, an attorney may be disqualified where there is a substantial relationship

between the subject matter of the prior representation and the current matter, and

the attorney whose disqualification is sought had access to or was likely to have had

access to relevant privileged information during that prior representation. Id. The

case at bar involves concurrent representation and will therefore be analyzed under

that standard.

      The Court reiterates that disqualifying a party’s chosen counsel is disfavored.

To the extent that Plaintiffs contend that a conflict exists because of accusations

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amongst the parties in the aftermath of the Daniel Prude incident the Court views

this as a credibility issue to be explored at trial as opposed to creating any conflict of

interest.

      With respect to the Dunton issue Defendants have clearly represented that

Warren and Singletary “are in agreement as to the policies, procedures and tactics

used at the 2020 protests, as well as the policies, practices and procedures of the

Rochester Police Department governing the use of force for the period 2018 until the

earlier of commencement or their departure from City government.” 6 (Defs.’ Mem. of

Law at 4, ECF No. 203.) In addition, Defendants have indicated that “[a]s to any

Monell claims against the City, as well as Mr. Singletary and Ms. Warren in their

individual or personal capacity, the City of Rochester agrees that they both were at

all times acting within the scope of their employment and in accordance with the

policies, practices and procedures of the City of Rochester.” (Id.) Finally, Defendants

stated that the City is indemnifying Warren and Singletary.

      In view of these clear representations, Plaintiffs’ speculation that “[i]t is

difficult to see how the City will not argue that actions (or inactions) taken by Warren

and Singletary were outside the scope of their employment and not reflective of

official policy” does not satisfy their heavy burden as the party seeking to disqualify

Corporation Counsel. (Pls.’ Mem. of Law at 17, ECF No. 198.) It does not appear that

the City, Warren, or Singletary intend to raise any conflicting defenses. Under these



      6 It is unclear what Defendants mean by “commencement.” However, the Court
surmises the Defendants are referring to the commencement of this action.
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circumstances the Court finds that Corporation Counsel does not have any conflict in

representing all three parties.

      In addition, during the Dunton hearing it did appear, as Defendants assert,

that Plaintiffs were largely concerned that there was a conflict with Corporation

Counsel representing the City, Warren, and Singletary with respect to Plaintiffs’ first

Monell claim for the first class of Plaintiffs that seeks injunctive and declaratory

relief. The Court agrees with Defendants that the only client encompassed by this

claim is the City. The Court does not believe there exists a conflict if Corporation

Counsel represents the City, Warren, and Singletary.

                                   CONCLUSION

      For the forgoing reasons the Court DENIES Plaintiffs’ oral motion to

disqualify Corporation Counsel from representing Defendants Lovely Warren,

La’Ron Singletary, and the City of Rochester.

IT IS SO ORDERED.

DATED:     April 8, 2025
           Rochester, New York


                                                ______________________________
                                                MARK W. PEDERSEN
                                                United States Magistrate Judge




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